                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )        JUDGE CARTER
vs.                                                 )
                                                    )        Mag. No. 1-09-MJ-429
LORRANCE BRYAN DAIS                                 )


                              MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code § 3142(f), the preliminary hearing
and detention hearing were held in this action on December 10, 2009. Those present included:

              (1) AUSA Perry Piper for the United States of America.
              (2) The defendant, LORRANCE BRYAN DAIS.
              (3) Attorney Hallie McFadden for defendant.
              (4) FBI Agent Wayne Jackson.
              (5) Deputy Clerk Kelli Jones.

       Upon being sworn the defendant was informed or reminded of his privilege against self-
incrimination accorded him under the 5th Amendment to the United States Constitution.

        The defendant acknowledged he had received a copy of the Criminal Complaint. It was
determined he was capable of being able to read and understand these proceedings.

       AUSA Piper moved the court the defendant be detained without bail.

                      Detention Hearing and Preliminary Hearing - Proof

       AUSA Piper called FBI Agent Wayne Jackson as a witness. He testified to the facts
outlined in the affidavit attached to the criminal complaint.

                                           Findings

       Having heard and considered the testimony of the Agent Jackson during the detention
hearing and preliminary hearing and the Affidavit/Complaint, the undersigned finds:

              (1) There is probable cause to believe that there have been
              violations of 18 U.S.C. § 1201, kidnapping; 18 U.S.C. § 924(c),
              possession of a firearm in furtherance of a crime of violence; and

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            18 U.S.C. § 922(g), felon in possession of a firearm, committed in
            the Eastern District of Tennessee.

            (2) There is probable cause to believe the defendant committed the
            aforesaid offenses.

            (3) The proof the defendant committed the aforesaid offenses is
            strong.

            (4) There are no conditions nor are there any combination of
            conditions which will reasonably assure the safety of the
            community or the presence of the defendant at future hearings.

                                       Conclusions

      It is ORDERED:

            (1) The defendant is held to answer the charges against him in the
            District Court.

            (2) AUSA Piper’s motion to detain the defendant without bail is
            GRANTED for reasons set out in the separate ORDER OF
            DETENTION PENDING TRIAL filed with this order.

            (3) The defendant’s next appearance shall be before the
            undersigned at 10:30 a.m. on Tuesday, January 5, 2010.

      ENTER.

      Dated: December 11, 2009                   s/William B. Mitchell Carter
                                                 UNITED STATES MAGISTRATE JUDGE




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